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14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17                                      SAN FRANCISCO DIVISION

18

19   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA

20                         Plaintiff,                     DEFENDANTS UBER
                                                          TECHNOLOGIES, INC. AND
21          v.                                            OTTOMOTTO, LLC’S MOTION
                                                          TO STRIKE VAGUE AND
22   UBER TECHNOLOGIES, INC.,                             OVERBROAD TRADE SECRET
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    CLAIMS AND EMERGENCY
23                                                        MOTION FOR EXPEDITED
                           Defendant.                     BRIEFING AND HEARING
24

25                                                        Trial Date: October 10, 2017

26

27               UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED

28
     DEFS.’ MOT. TO STRIKE VAGUE AND OVERBROAD TRADE SECRET CLAIMS AND EMERGENCY MOT. FOR
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 1   I.     INTRODUCTION

 2          At Waymo’s insistence, the Court set an aggressive discovery schedule and October trial

 3   date. Recognizing that many of Waymo’s purported trade secrets were nothing of the sort, and to

 4   give Uber a fair opportunity to defend itself, the Court also ordered Waymo to reduce its list of

 5   121 purported trade secrets to a final “lineup of trade secrets to be tried” that was “less than ten.”

 6   (Dkt. 563 at 4.) Just days ago, Waymo’s counsel stood before this Court and confidently rattled

 7   off a list of trade secrets he claimed Uber was using:

 8                  THE COURT: You are flailing about with theory after theory after
                    theory, and a lot of these are not panning out, and so now you're
 9                  going after MoFo as the agent or Stroz as the agent. Is that because
                    you just can't prove -- name a single trade secret that -- describe it
10                  in some way where Uber is actually using it.

11                  MR. JAFFE: 6, 10, 11, 94, 95, 96, 97, 98.

12                  THE COURT: Are you making those up, or is that for real?

13                  MR. JAFFE: That's for real.1

14   Yet, at the August 1 deadline, Waymo identified an almost entirely different list. Moreover,

15   instead of identifying specific trade secrets, Waymo’s “narrowed” lineup is in large part a

16   collection of vague and ill-defined “catchall” statements that are devoid of the “reasonable

17   particularity” required by Section 2019.210 of the California Code of Civil Procedure. Even after

18   extensive discovery,2 Waymo is still fishing, and its inability to sufficiently describe its alleged

19   trade secrets flies in the face of the Court’s instruction and demonstrates Waymo’s lack of

20   evidence of use.

21          Uber requests an order striking Waymo’s Trade Secret Nos. (“TS”) 25, 90, 96, and 111

22   based on its legally inadequate disclosure.3 These alleged trade secrets are so vague and

23
            1
             7/26/17 Hr’g Tr. at 48:13-22.
24          2
             To date, Waymo has taken 29 depositions, conducted eleven inspections over 57 hours
25   of Uber’s facilities, source code, documents, and engineers’ computers, served 46 interrogatories
     and 307 requests for production, and obtained over 187,000 pages of production documents from
26   Uber.
            3
              Pursuant to Local Rule 6-3, Uber requests an order to shorten time for the briefing and
27   hearing schedule for this motion to strike. The deadline for close of fact discovery and opening
     expert reports is August 24, and responsive expert reports are due September 7. The shortened
28   briefing and hearing schedule is necessary given these upcoming deadlines, which all occur
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 1   overbroad as to undermine the clear intent of this Court’s case management order and deprive

 2   Uber of any meaningful opportunity to prepare its defense for trial. Discovery closes on August

 3   24, but Waymo has refused to provide sufficient disclosures for Uber to determine the boundaries

 4   of Waymo’s alleged trade secrets and investigate known art.4 Having woefully failed to identify

 5   its list of trade secrets with the specificity required by this Court, Waymo should be limited at

 6   trial to the five other purported trade secrets it has identified (i.e., TS 2, 7, 9, 13 and 14).

 7   II.     ARGUMENT
 8           A.       Waymo’s TS 25, 90, 96, and 111 Should Be Stricken
 9           Six days after Waymo told the Court it had evidence of Uber’s use of alleged TS “6, 10,

10   11, 94, 95, 96, 97, 98,”5 Waymo’s list of nine “trade secrets to be tried” instead identified an

11   almost entirely different set of trade secrets: TS 2, 7, 9, 13, 14, 25, 90, 96, and 111. This is yet

12   another example of Waymo’s “shifting sands” approach to this case. TS 25, 90, 96 and 111 in

13   particular are vaguely described as follows:

14                    TS 25: The trade secret claimed is
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18                    TS 90: The trade secret claimed is the technical information
                      contained in the                                   presentation.
19
                      TS 96: The trade secret claimed is
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     before the September 11 hearing date for this motion under normal court rules, such that Uber
23   would be severely prejudiced in the absence of a shortened schedule. (Decl. of E. Chang ¶¶ 18-
     19.)
24           4
               On August 5, 2017, Uber requested a meet and confer with Waymo identifying TS 25,
25   90, 96, and 111 as vague and overbroad. (Decl. of R. Kim ¶ 2.) Waymo responded on August 6,
     2017, stating that Uber’s concerns about TS 25, 90, 96, and 111 were meritless. (Id. ¶¶ 3-4.) On
26   August 7, 2017, Uber met and conferred with Waymo’s counsel and the Special Master about TS
     25, 90, 96, and 111 and confirmed that the parties were at an impasse. (Id. ¶ 5.) The Special
27   Master proposed that Waymo file its opposition by August 11, 2017 at noon, but Waymo has not
     responded to Uber’s request for confirmation of the deadline. (Decl. of E. Chang ¶¶ 20-21.)
28           5
                 7/26/17 Hr’g Tr. at 48:13-22.
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 1                   TS 111: The trade secret claimed is the accumulated know-how
                     regarding
 2

 3   (Decl. of Esther Chang Exhibit (“Ex.”) 1, Waymo’s August 1, 2017 Notice Regarding Trade

 4   Secret Narrowing; Ex. 2, Waymo’s Section 2019.210 List at 17-18, 55, 63.) Notably, TS 25 and

 5   111, although part of Waymo’s original laundry list of 121 alleged trade secrets, have not

 6   previously been the focus of this litigation, and Waymo admits that they are not disclosed in any

 7   files allegedly downloaded by Anthony Levandowski or any other former Waymo employee.

 8   (Ex. 3, Waymo 4th Suppl. Resp. to Uber’s 1st Set of Interrogs. at 199-201 (no “misappropriated

 9   files” identified for TS 25 or TS 111).

10           For TS No. 25, Waymo broadly claims “

11            ” in three documents with a combined 98 pages, and certain unspecified “

12                                 ” in those documents. (Ex. 4,                       ; Ex. 5,

13                             Ex. 6,                        Much of the disclosures in those

14   documents, however, appear to be general concepts, such as                       involving a

15

16             ” (Ex. 4 at 4 (excerpt below).) Waymo fails to identify what specific information it

17   considers to be its trade secret.

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26           TS 90 broadly claims “the technical information contained in” a 6-page presentation,

27   without identifying what specific information Waymo contends is a trade secret. But the only

28   example of the “technical information” disclosed in Waymo’s Section 2017.210 list is a
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 1

 2                    ” (Ex. 2 at 52; see Ex. 7,                                     at 7.) The same

 3   information, however, appears to be claimed in Waymo’s TS 48, which claims

 4

 5                                                                                              (Ex. 2 at

 6   31.). Waymo presumably dropped TS 48 in view of its witnesses’ admissions about known art,

 7   such as Waymo expert Mr. Kintz’s concession that “[t]here are certainly references in the public

 8   domain that discuss                                                                       (Ex. 13,

 9   Kintz Dep. Tr. at 193:15-18; see also Ex. 12, Morriss Dep. Tr. 122:20-123:4; 149:2-17; 149:22-

10   150:5; Ex. 13, Kintz Dep. Tr. 193:1-194:10.)6 Waymo should not be allowed to vaguely and

11   broadly assert TS 90 to cover the non-elected concept covered in TS 48 as well as other

12   unspecified elements of the specific implementations disclosed in the 6-page presentation

13   referenced in TS 90.

14          TS 96 claims                                     and the Section 2019.210 statement says

15   only that “they contain                                                      of a transmit board,

16   which “include

17

18                                          (Ex. 2 at 55.) Waymo fails to identify with particularity

19   what specific aspects of the hundreds of components disclosed in the “detailed engineering

20   schematics” it contends to be a trade secret, and what specific elements it intends to argue were

21   misappropriated at trial. This trade secret is so broad that its inclusion can only be an attempt to

22   circumvent the Court’s order requiring narrowing of the trade secrets by seeking to encompass

23

24

25

26          6
              Waymo concedes the overlapping nature of TS 48 and 90, and appears to be attempting
     to improperly shoe-horn TS 48 back into their “narrowed” list. See R. Kim Decl. Ex. 1
27   (Waymo’s counsel email stating, “Indeed, all of Waymo’s specific implementations of
                are its trade secrets – including the implementation reflected in Trade Secret Nos. 48
28   and 90.”)
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 1   other specific trade secrets that were not included in Waymo’s narrowed list (e.g., TS 1, 4, 5, 6, 8,

 2   15, etc.).7

 3           In TS 111, Waymo broadly claims all “accumulated know-how” regarding a

 4                                                          (Id. at 63.) This was a LiDAR design that

 5   Waymo apparently tried and abandoned. While Waymo identified a few examples of

 6                                            it fails to identify what specific “know-how” it considers

 7   to be a trade secret and what specific elements it intends to argue were misappropriated at trial.

 8   Nor does Waymo disclose any specific documents (downloaded by Mr. Levandowski or anyone

 9   else at Uber) that purportedly disclose such trade secret.

10           Each of these four purported trade secrets fails to meet the “reasonable particularity”

11   standard of Section 2019.210. “[T]he burden on the trade secret claimant is to provide a level of

12   detail adequate to distinguish the subject information from general knowledge or knowledge of

13   skilled persons in the field.” Brescia v. Angelin, 172 Cal. App. 4th 133, 147, 90 Cal. Rptr. 3d 842

14   (2009); see also VasoNova Inc. v. Grunwald, No. C 12-02422 WHA, 2012 WL 4119970, at *2

15   (N.D. Cal. Sept. 18, 2012) (requiring “enough detail so that the defendant is able to learn the

16   boundaries of the alleged trade secret in order to investigate defenses”). Waymo’s disclosures are

17   precisely the type of “categorical descriptions” the Northern District court has rejected as

18   “render[ing] it impossible for Defendants to conduct public domain or other research to challenge

19   the alleged secrecy of the information at issue.” See Loop AI Labs Inc. v. Gatti, 195 F. Supp. 3d

20   1107, 1115 (N.D. Cal. 2016). In Loop, the court found that plaintiff’s Section 2019.210 listing of

21   “unnamed experiments, test results, research, analysis, evaluations, applications, and design

22   concepts” to be “plainly insufficient.” Id. at 1114. Here, Waymo’s identification of unnamed

23                   and                (TS 25), “technical information contained in [a Google]

24   presentation” (TS 90),

25
             7
              In fact, Waymo’s corporate witness testified that “everything” disclosed in the design
26   files were trade secret, including the concept of                            (TS 1), which he
     acknowledged was “dropped” and not “elected” as part of Waymo’s narrowed list. (Ex. 15, Droz
27   Dep. Tr. at 285:22-286:19, 287:10-288:11, 332:19-23.) Mr. Droz also proceeded to provide a
     laundry list of other things disclosed in those files that Waymo might want to keep secret.
28   (Ex. 15, Droz Dep. Tr. at 288:13-291-20.)
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 1                    (TS 96), and “accumulated know-how” (TS 111) likewise fail to meet the Section

 2   2019.210 standard.8

 3          Waymo has touted that it identified the alleged trade secrets “with particularity in

 4   accordance with this Court’s guidance in JobScience” with “a list of the specific elements for

 5   each, as claims would appear at the end of a patent.” (Dkt. 386 at 4 (quoting JobScience, Inc. v.

 6   CVPartners, Inc., No. C 13-04519-WHA, 2014 WL 852477 (N.D. Cal. Feb. 28, 2014).) But in

 7   JobScience, this Court struck plaintiff’s trade secret claim after finding that plaintiff’s disclosure

 8   “ma[de] it virtually impossible to distinguish the alleged trade secrets from knowledge in the

 9   field,” such that “Defendants cannot reasonably prepare its defenses.” JobScience, Inc. v.

10   CVPartners, Inc., No. C 12-04519-WHA, 2014 WL 1724763, at *3 (N.D. Cal. May 1, 2014).

11   Notably, this Court found that plaintiff’s identification of three schematics, with no explanation

12   except that they were a “representation of Jobscience's proprietary process and efficient solution,”

13   was insufficient. Id. at *2. This Court also rejected plaintiff’s description of its software, because

14   the disclosure contained “mere criteria and in no way tell[s] the reader the secret of how it is

15   done.” Id. at *3. Waymo knew the level of detail required by this Court in JobScience, but failed

16   to provide it anyway.

17          Waymo’s vague and overbroad descriptions present moving targets, when much

18   information cited by Waymo appear to be concepts in the public domain. For example, Waymo’s

19   spreadsheets for TS 25 identify such                    as

20              and                             (Ex. 4 at 1, 4.) It is publicly well-known that self-

21   driving cars have struggled with detection of lane markings. (Ex. 8 at 1 (“lane markings

22   confusing Tesla’s autopilot”); Ex. 9 at 4 (“driverless cars struggle on roads without clear lane

23

24          8
               Waymo’s interrogatory responses are equally devoid of detail and fail to specify with
     particularity what Waymo considers to be its specific trade secrets that are purportedly used by
25   Uber. (Ex. 3 at 23-25 (Waymo’s response for TS 25, 90, 96, and 111to contention interrogatory
     seeking evidence alleged use by Uber.) Furthermore, while Waymo fails to provide specific
26   detail regarding its alleged trade secrets, it unreasonably demands responses to overbroad
     discovery requests. (See e.g., Ex. 16, Uber’s Resp. to 3rd Set of RFPs at 38-39 (stating in
27   response for request number 200 for                                     ” that Uber has produced
     documents and made available for in                                     ments, devices of six
28   engineers, and all four locations at which there is ongoing LiDAR development).
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 1   markings”). Also, Google itself has publicly disclosed that “we teach our cars to drive more

 2   cautiously around children” because children “can be more unpredictable” and “are easily

 3   obscured behind parked cars.” (Ex. 10, “Google self-driving car project.”) Waymo fails to

 4   identify what specific information in the nearly 100 pages of documents it considers to be a trade

 5   secret.

 6             Likewise, TS 111 claims unnamed know-how relating to

 7                                                          but LiDAR systems having “a rotating

 8   multifaceted polygon mirror” have been known to the public since at least the early 1990s. (See

 9   Ex. 11, U.S. Patent No. 5,006,721.) Waymo fails to identify with particularity what specific

10   “know-how” it considers to be trade secret and what specific elements it intends to argue was

11   misappropriated at trial. Nor does it disclose any documents that purportedly disclose such a

12   trade secret.

13             In claiming the “technical information” of TS 90 in its final line-up, Waymo seems to be

14   an attempt at gamesmanship, to get around admissions from its own witnesses that

15                                 claimed in its TS 48 is known to the public. (See e.g., Ex. 12,

16   Morriss Dep. Tr. 122:20-123-4; 149:2-17; 149:22-150:5; Ex. 13, Kintz Dep. Tr. 193:1-194:10.)

17   Waymo has failed to identify what other specific information contained in the six-page

18   presentation is a trade secret.

19             At the preliminary injunction hearing, the Court told Waymo, “[T]here is no doubt in my

20   mind that your specific                     configuration, very specific configuration, would be a

21   trade secret. That's okay. They don't use that though.” (5/3/17 AM Sealed Hr’g Tr. at 14:23-25.)

22   In apparent recognition of this gap in its case, Waymo has dropped its trade secret covering the

23   general concept of                    and instead asserted TS 96, which is directed to a specific

24   Waymo implementation. Waymo’s Section 2019.210 list, however, vaguely references certain

25   general concepts (i.e.,

26                                                                                     ”) without

27   specifying what specific                                                 are claimed in TS 96. (Ex.

28
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 1   2 at 55.) For example, the claimed transmit board’s placement of diodes along a curved board

 2   was disclosed by Waymo in its ’922 patent:
     Waymo’s                             (Ex. 14.)        ’922 Patent, Fig. 4
 3

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14   Without further specificity, Waymo’s identification of TS 96 appears to be a deliberate attempt to

15   include a broad catchall “trade secret” that encompasses other alleged trade secrets (e.g., TS 1, 4,

16   5, 6, 8 & 15) that it has not specifically elected in its “narrowed” list, in direct circumvention of

17   the Court’s case management order. (See e.g., Ex. 2 (TS 1, TS 4, TS 5, TS 6, TS 8, TS 15); Dkt.

18   563 at 4 (“The final lineup should consist of less than ten trade secrets, and the deadline should

19   fall on a date in August 2017 that will permit sufficient preparation time for opening expert

20   reports.”)9

21

22          9
               During the deposition of Waymo’s designated corporate representative on TS 96,
23   Waymo’s designee could not specify with any clarity or specificity what aspect of the schematics
     Waymo alleges to be a trade secret that was misappropriated by Defendants. (See, e.g., Ex. 15,
24   Droz Dep. Tr. at 272:21-273:18, 275:11-276:9, 277:22-278:22, 285:14-286:19.)
              Waymo’s witness who was designated to testify regarding TS 96 (and all other trade
25   secrets on Waymo’s narrowed list except for TS 25) appeared to confirm that TS 96 broadly
     encompasses other trade secrets, including those not elected by Waymo (e.g., TS 1). (See, e.g.,
26   Ex. 15, Droz Dep. Tr. at 287:10-288:11.) Curiously, however, Mr. Droz was not prepared to
     testify on those trade secret concepts because they were not elected and had been dropped. (See,
27   e.g., Ex. 15, Droz Dep. Tr. at 329:6-332:23.) Waymo should not be allowed to hide the ball by
     broadly asserting that everything contained in detailed schematics and layout files is a trade
28   secret, including other trade secret concepts that Waymo chose not to elect.
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 1           B.      Uber’s Motion to Strike Is Timely

 2           Contrary to Waymo, Uber has timely brought this motion to strike. In March, the Court

 3    told Waymo that “there were a number of [alleged trade secrets] that I thought were questionable”

 4    and urged Waymo “to trim down your list of trade secrets to the ones that you really think are

 5    going to hold up.” (3/16/17 Hr’g Tr. at 19:15-23.) In June, recognizing that “both sides ought to

 6    know which trade secrets are in play,” the Court ordered Waymo to identify its specific trade

 7    secrets “before the expert reports are due.” (6/7/17 Hr’g Tr. at 51:23-52:4.) After the Court’s

 8    repeated warnings, Waymo had months to identify its trade secrets with the required specificity,

 9    and Uber brings this motion days after Waymo served the court-ordered list.

10           Furthermore, Waymo can point to no deadline by which defendants must move to strike

11    inadequate trade secret disclosures. In Via Tech, for example, a Northern District court sua

12    sponte limited plaintiff’s trade secrets claims based on inadequate disclosures, seven months after

13    plaintiff’s amended Section 2019.210 statement. Via Techs., Inc. v. Asus Computer Int’l, Case

14    No. 14-cv-03586-BLF 2016 WL 1056139, at *2-3 (N.D .Cal. Mar. 17, 2016) (denying-in-part

15    plaintiff’s motion to compel production of documents because plaintiff’s disclosure is “plainly

16    insufficient”). The Northern District court found that “even if Defendants no longer object to the

17    disclosure, the court . . . must evaluate its sufficiency.” Id. In order to make trial manageable

18    here, insufficiently disclosed trade secrets should be struck from Waymo’s list.

19    III.   CONCLUSION

20           This case is now less than three weeks from the end of fact discovery and opening expert
21    reports and five weeks from responsive expert reports. While this Court in Jobscience warned
22
      plaintiff to identify its trade secrets in “two prior orders” before dismissing its claims, that
23
      extended process would not be tenable here. Cf. Jobscience, 2014 WL 1724763, at *3. Waymo’s
24
      continued sandbagging after repeated warnings by the Court has imposed severe prejudice on
25

26    Uber. Throughout discovery, Waymo leveraged its broad list of 121 purported trade secrets to

27    obtain several hundred thousand pages of documents and extensive inspections from Uber, while

28
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 1    hiding the ball on its exact evidence of purported use by Uber. (See supra Fn. 2, Fn. 8.) At the
 2    same time, the large number of alleged trade secrets have hurt Uber’s ability to search public
 3
      literature and seek discovery from third-party self-driving car companies, as the Court has
 4
      recommended. (6/7/17 Hr’g Tr. at 50:6-12.) With Waymo’s failure to identify the specific “trade
 5
      secrets in play,” Uber has been deprived of a meaningful chance to respond under this expedited
 6

 7    schedule.

 8           This Court made clear to Waymo that, having demanded an October trial date, it must act

 9    in good faith and provide Uber with sufficient disclosures to build its defense. Waymo failed to
10
      do so. Accordingly, Uber’s motion for expedited briefing and hearing, and motion to strike
11
      TS 25, 90, 96, and 111 should be granted.
12

13    Dated: August 7, 2017                        MORRISON & FOERSTER LLP

14

15                                                 By:     /s/ Arturo J. González
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16
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17                                                         UBER TECHNOLOGIES, INC.
                                                           and OTTOMOTTO LLC
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